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                     UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF MICHIGAN

                            SOUTHERN DIVISION

TIMOTHY KING, et al.,

      Plaintiffs,

v.

GRETCHEN WHITMER, et al.,                Civil Case No. 20-13134

      Defendants.                        Honorable Linda V. Parker

and

CITY OF DETROIT, DEMOCRATIC
NATIONAL COMMITTEE and
MICHIGAN DEMOCRATIC PARTY,
and ROBERT DAVIS,

      Intervenor-Defendants.


__________________________________________________________________

  STIPULATED ORDER FOR WITHDRAWAL AND SUBSTITUTION OF
               COUNSEL FOR EMILY NEWMAN

      The undersigned counsel for Emily Newman stipulate to the withdrawal of

Thomas M. Buchanan of Winston & Strawn LLP as counsel of record for her and

the substitution in his place of Timothy E. Galligan. The Court is further advised

that Emily Newman has advised the undersigned counsel that she consents to this

substitution.
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      IT IS HEREBY ORDERED that pursuant to LR 83.25 that Thomas M.

Buchanan of Winston & Strawn LLP is deemed to have withdrawn as counsel for

Emily Newman as of the entry of this Order and that Timothy E. Galligan is

deemed to have substituted in his place.


      IT IS SO ORDERED.

                                           s/ Linda V. Parker
                                           LINDA V. PARKER
                                           U.S. DISTRICT JUDGE
 Dated: July 15, 2021




SO STIPULATED:

/s/Thomas M. Buchanan
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                             Certificate of Service

      The undersigned hereby certifies that on July 15, 2021, a true and correct
copy of the forgoing will be served on all counsel of record by email.

                                          /s/Timothy E. Galligan
